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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                     4:13CR3122

       vs.
                                                    DETENTION ORDER PENDING TRIAL
MARY E. MERKEL,

                      Defendant.

       After affording the defendant an opportunity for a detention hearing under the Bail
Reform Act, 18 U.S.C. § 3142(f), the court concludes the defendant must be detained pending
trial.

       Based on the information of record, the court finds by clear and convincing evidence that
defendant’s release would pose a serious risk of harm to the community and risk of defendant's
nonappearance at court proceedings.

        Specifically, the court finds that the defendant has a criminal record which indicates a
propensity to violate the law; has a substance abuse addiction or abuses mood-altering chemicals
and is likely to continue such conduct and violate the law if released; has limited contacts with
this community; has failed to appear for court proceedings in the past; waived the right to a
detention hearing; and no conditions or combination of conditions are currently available which
will sufficiently ameliorate the risks posed if the defendant is released.


                                   Directions Regarding Detention

        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of United
States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court
appearance.

       November 22, 2013.
                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
